                       Case 20-71625-jwc                Doc 17            Filed 02/04/21 Entered 02/04/21 07:18:06                                              Desc Main
                                                                          Document      Page 1 of 9
 Fill in this information to identify the case:
Debtor1                  BARBARA               A.                        CRAWFORD
                         First Name            Middle Name               Last Name
Debtor2
(Spouse, if filling)     First Name            Middle Name               Last Name
United States Bankruptcy Court for the: NORTHERN District of GEORGIA

Case number              20-71625-JWC-7
(If known)


Official Form 427
Cover Sheet for Reaffirmation Agreement                                                                                                                                  12/15
Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement, and file
the documents within the time set under Bankruptcy Rule 4008.

    Part 1:             Explain the Repayment Terms of the Reaffirmation Agreement
1. Who is the creditor?               Ally Bank
                                      Name of the creditor
2. How much is the debt?              On the date that the bankruptcy case is filed                                 $26,015.20
                                      To be paid under the reaffirmation agreement                                  $26,033.40
                                      subject to the terms of the reaffirmed pre-petition loan documents. Pay-off as of 11/13/2020

                                      $599.99 per month for 58 months (If fixed interest rate). *See additional terms at end of cover sheet, if applicable.
3. What Is the Annual         Before the bankruptcy case was filed                         12.89%
   Percentage Rate (APR) of Under the reaffirmation agreement                              12.89%                                                                    Fixed Rate
   Interest? (See Bankruptcy
   Code § 524(k)(3)(E).)                                                                                                                                             Adjustable Rate
4. Does collateral secure the    No
   debt?                         Yes.      Describe the collateral. 2019 TOYOTA Camry Sedan 4D XLE I4 VIN: 4T1B11HK0KU243607
                                                      Current market value $26,075.00
5. Does the creditor assert               No
   that the debt is
   nondischargeable?                      Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeable.
6. Using information from             Income and expenses reported on Schedules I and J                              Income and expenses stated on the reaffirmation agreement
   Schedule I: Your Income            6a. Combined monthly income from line                  3,525.00
                                                                                           $______________           6e. Monthly income from all sources after         3,525.00
                                                                                                                                                                     $______________
   (Official Form 106I) and               12 of Schedule I                                                               payroll deductions
   Schedule J: Your Expenses
   (Official Form 106J), fill in      6b. Monthly expenses from line 22c of                    3,525.00
                                                                                         __ $______________                                                               3,525.00
                                                                                                                                                                    __ $______________
                                                                                                                     6f. Monthly expenses
   the amounts.                           Schedule J
                                                                                               0.00
                                                                                         __ $______________ 6g. Monthly payments on all reaffirmed                        0.00
                                                                                                                                                                    __ $______________
                                      6c. Monthly payments on all reaffirmed
                                                                                                                debts not included in monthly
                                          debts not listed on Schedule J
                                                                                                                expenses
                                      6d. Scheduled net monthly income                       0.00
                                                                                           $______________           6h. Present net monthly income                      0.00
                                                                                                                                                                     $______________
                                          Subtract lines 6b and 6c from 6a.                                              Subtract lines 6f and 6g from 6e.
                                          If the total is less than 0, put the number                                    If the total is less than 0, put the
                                          in brackets.                                                                   number in brackets.




Official Form 427                                                       Cover Sheet for Reaffirmation Agreement                                                                   Page 1
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Debtor 1            BARBARA               A.                     CRAWFORD
                                                                                                                                   Case number (if known) 20-71625-JWC-7
                    First Name            Middle Name            Last Name


7. Are the income amounts            x No
   on lines 6a and 6e                  Yes.          Explain why they are different and complete line 10. ____________________________________
   different?
                                                     ___________________________________________________________________________
8. Are the expense amounts           x No
   on lines 6b and 6f                  Yes.          Explain why they are different and complete line 10. ____________________________________
   different?
                                                     ___________________________________________________________________________
9. Is the net monthly income         x No
   in line 6h less than 0?             Yes.          A presumption of hardship arises (unless the creditor is a credit union).
                                                     Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.
                                                     Complete line 10.
                                                     ___________________________________________________________________________
                                                     ___________________________________________________________________________
10. Debtor's Certification
                                    I certify that each explanation on lines 7-9 is true and correct.
    about lines 7-9
    If any answer on lines 7-9 is
    Yes, the debtor must sign
    here.
                                        Barbara Crawford
    If all the answers on lines 7-9 X_                         __________________                       X_____________________________________
    are No, go to line 11.           Signature of Debtor 1                                               Signature of Debtor 2 (Spouse Only in a Joint Case)

11. Did an attorney represent          No
    the debtor in negotiating        x Yes.          Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
    the reaffirmation
    agreement?                                          No
                                                     x Yes.


   Part 2:        Sign Here
Whoever fills out this form must sign here.         I certify that the attached agreement is a true and correct copy of the reaffirmation agreement between
                                                    the parties Identified on this Cover Sheet for Reaffirmation Agreement.


                                                    X_______________________________________                               02/04/2021
                                                                                                               Date __________________________
                                                                                                                           MM/DD/YYYY
                                                      Amitkumar Sharma
                                                    _________________________________________
                                                    Printed Name
                                                    Check one:
                                                      Debtor or Debtor's Attorney
                                                    X Creditor or Creditor's Attorney



*Additional Terms:

This form 427 has been modified by AIS in conformance with FED. R. BANKR. P. 4008 and compliance with 11 U.S.C. § 524(c). This Form 427, as modified, is
substantially similar to Official Form 427.




Official Form 427                                                Cover Sheet for Reaffirmation Agreement                                                         Page 2
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                                                                           Check one.
                                                                                Presumption of Undue Hardship
                                                                           x No Presumption of Undue Hardship
                                                                           See Debtor's Statement in Support of Reaffirmation,
                                                                           Part II below, to determine which box to check.


                                UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF GEORGIA


In re          BARBARA A. CRAWFORD                                                           Case No.   20-71625-JWC-7
                         Debtor(s)                                                           Chapter    7


                                          REAFFIRMATION DOCUMENTS
                                                   Name of Creditor: Ally Bank

                                              Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation Agreement, you must
review the important disclosures, instructions, and definitions found in Part V of this form.

A. Brief description of the original agreement being reaffirmed: Auto-Contract

B. AMOUNT REAFFIRMED: $26,033.40
        The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include unpaid principal, interest,
        and fees and costs (if any) arising on or before 11/13/2020, which is the date of the Disclosure Statement portion of
        this form (Part V).
        See the definition of "Amount Reaffirmed" in Part V, Section C below.


C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 12.89%.
        See definition of "Annual Percentage Rate" in Part V, Section C below.
        This is a (check one)    Fixed rate        Variable rate


If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate disclosed here.
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D. Reaffirmation Agreement Repayment Terms (check and complete one):
              $________ per month for ________ months starting on____________.
            Describe repayment terms, including whether future payment amount(s) may be different from the initial payment
        amount.
        58 regular payments of $599.99 each starting on November 19, 2020


E. Describe the collateral, if any, securing the debt:

              Description:                   2019 TOYOTA Camry Sedan 4D XLE I4                  VIN: 4T1B11HK0KU243607
              Current Market Value           $26,075.00

F. Did the debt that is being reaffirmed arise from the purchase of the collateral described above?

            Yes. What was the purchase price for the collateral?                              $30,792.24
            No. What was the amount of the original loan?                                     $_______________

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed debt and any
related agreement:

                                                           Terms as of the                        Terms After
                                                        Date of Bankruptcy                       Reaffirmation
         Balance due (including fees                             $26,015.20                         $26,033.40
         and costs)
         Annual Percentage Rate                                      12.89%                             12.89%
         Monthly Payment                                             $599.99                            $599.99

Unless otherwise changed in this reaffirmation agreement, I (we) reaffirm all other terms and conditions of the credit agreement. Any
changes to the credit agreement contained in this reaffirmation agreement will not be effective if this reaffirmation agreement is
rescinded or disapproved by the court.

The terms stated herein are contingent upon the execution and filing of the reaffirmation agreement prior to the discharge or, if applicable, approval
of the reaffirmation agreement by the court. Any loan extensions, modifications, late payments, payments to principal or other accruals of interest
may alter the contractual paid in full date or final payment amount otherwise set forth in this reaffirmation agreement or the reaffirmation
agreement cover sheet.


H.     Check this box if the creditor is agreeing to provide you with additional future credit in connection with this
       Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to future credit and any
       other terms on future purchases and advances using such credit:
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PART II. DEBTOR'S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?
       Check one. x Yes          No

B. Is the creditor a credit union?
       Check one.      Yes     x No


C. If your answer to EITHER question A. or B. above is "No," complete 1. and 2. below.

        1.     Your present monthly income and expenses are:
               a. Monthly income from all sources after payroll deductions (take-        3,525.00
                                                                                       $______________________
               home pay plus any other income)
               b. Monthly expenses (including all reaffirmed debts except this one)      2,925.00
                                                                                       $______________________
               c. Amount available to pay this reaffirmed debt (subtract b. from a.)     599.99
                                                                                       $______________________
               d. Amount of monthly payment required for this reaffirmed debt            599.99
                                                                                       $______________________

               If the monthly payment on this reaffirmed debt (line d.) is greater than the amount you have available to
               pay this reaffirmed debt (line c.), you must check the box at the top of page one that says "Presumption of
               Undue Hardship." Otherwise, you must check the box at the top of page one that says "No Presumption of
               Undue Hardship."

        2.     You believe this reaffirmation agreement will not impose an undue hardship on me or my dependents because:

               Check one of the two statements below, if applicable:
               x You can afford to make the payments on the reaffirmed debt because your monthly income is greater than
                 your monthly expenses even after you include in your expenses the monthly payments on all debts you are
                 reaffirming, including this one.
                  You can afford to make the payments on the reaffirmed debt even though your monthly income is less than
                  your monthly expenses after you include in your expenses the monthly payments on all debts you are
                  reaffirming, including this one, because:



                  Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were "Yes", check the following statement, if applicable:

                   You believe this reaffirmation agreement is in your financial interest and you can afford to make the
                   payments on the reaffirmed debt.

Also, check the box at the top of page one that says "No Presumption of Undue Hardship."
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PART III. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES

I hereby certify that:

         (1) I agree to reaffirm the debt described above.
         (2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reaffirmation Agreement (Part I)
             and the Disclosure Statement, Instructions and Definitions included in Part V below;
         (3) The Debtor's Statement in Support of Reaffirmation Agreement (Part II above) is true and complete;
         (4) I am entering into this agreement voluntarily and am fully informed of my rights and responsibilities; and
         (5) I have received a copy of this completed and signed Reaffirmation Documents form.

SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign.):
                                                                   Barbara Crawford
Date:       1/7/2021                                Signature:
                                                                     Barbara A Crawford - Debtor
Date:                                               Signature:
                                                                          Joint Debtor, if any

Reaffirmation Agreement Terms Accepted by Creditor:

Creditor                                                          Ally Bank c/o AIS Portfolio Services, LP
                   Ally Bank                                      4515 N Santa Fe Ave
                                                                  Oklahoma City, OK 73118
                                 Print Name                       Address
                           Amitkumar Sharma                                                                         02/04/2021
                         Print Name of Representative                              Signature                           Date

PART IV. CERTIFICATION BY DEBTOR'S ATTORNEY (IF ANY)
        To be filed only if the attorney represented the debtor during the course of negotiating this agreement.
I hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2) this agreement
does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have fully advised the debtor of the
legal effect and consequences of this agreement and any default under this agreement.

     A presumption of undue hardship has been established with respect to this agreement. In my opinion, however, the debtor
     is able to make the required payment.
Check box, if the presumption of undue hardship box is checked on page 1 and the creditor is not a Credit Union.

     1/9/2021
Date __________________               Signature of Debtor's Attorney: _                     ___________
                                      Print Name of Debtor's Attorney: WILLIE J HUNTLEY III
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PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)
Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I above) and
these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the decision is in
your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section B below, are not completed,
the Reaffirmation Agreement is not effective, even though you have signed it.

A.          DISCLOSURE STATEMENT
     1.     What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal obligation.
            Your reaffirmed debt is not discharged in your bankruptcy case. That means that if you default on your reaffirmed
            debt after your bankruptcy case is over, your creditor may be able to take your property or your wages. Your
            obligations will be determined by the Reaffirmation Agreement, which may have changed the terms of the original
            agreement. If you are reaffirming an open end credit agreement, that agreement or applicable law may permit the
            creditor to change the terms of that agreement in the future under certain conditions.

     2.     Are you required to enter into a reaffirmation agreement by any law? No, you are not required to reaffirm a
            debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can afford the payments that
            you agree to make.

     3.     What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate any lien
            on your property. A "lien" is often referred to as a security interest, deed of trust, mortgage, or security deed. The
            property subject to a lien is often referred to as collateral. Even if you do not reaffirm and your personal liability
            on the debt is discharged, your creditor may still have a right under the lien to take the collateral if you do not pay
            or default on the debt. If the collateral is personal property that is exempt or that the trustee has abandoned, you
            may be able to redeem the item rather than reaffirm the debt. To redeem, you make a single payment to the
            creditor equal to the current value of the collateral, as the parties agree or the court determines.

     4.     How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into a
            reaffirmation agreement, you must do so before you receive your discharge. After you have entered into a
            reaffirmation agreement and all parts of this form that require a signature have been signed, either you or the
            creditor should file it as soon as possible. The signed agreement must be filed with the court no later than 60 days
            after the first date set for the meeting of creditors, so that the court will have time to schedule a hearing to approve
            the agreement if approval is required.

     5.     Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time before the
            bankruptcy court enters your discharge, or during the 60-day period that begins on the date your Reaffirmation
            Agreement is filed with the court, whichever occurs later. To rescind (cancel) your Reaffirmation Agreement, you
            must notify the creditor that your Reaffirmation Agreement is rescinded (or canceled). Remember that you can
            rescind the agreement, even if the court approves it, as long as you rescind within the time allowed.
            Please send any Notice of Rescission of this Reaffirmation Agreement via physical & electronic mail to the
            following addresses for quicker processing:
            Ally Bank c/o AIS Portfolio Services, LP
            4515 N Santa Fe Ave
            Oklahoma City, OK 73118
            ecfnotices@ascensioncapitalgroup.com
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     6.   When will this reaffirmation agreement be effective?
          a. If you were represented by an attorney during the negotiation of your reaffirmation agreement and
                     i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when it is
                     filed with the court unless the reaffirmation is presumed to be an undue hardship. If the Reaffirmation
                     Agreement is presumed to be an undue hardship, the court must review it and may set a hearing to
                     determine whether you have rebutted the presumption of undue hardship.
                     ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it is
                     filed with the court.
          b. If you were not represented by an attorney during the negotiation of your Reaffirmation Agreement, the
          Reaffirmation Agreement will not be effective unless the court approves it. To have the court approve your
          agreement, you must file a motion. See Instruction 5, below. The court will notify you and the creditor of the
          hearing on your Reaffirmation Agreement. You must attend this hearing,at which time the judge will review your
          Reaffirmation Agreement. If the judge decides that the Reaffirmation Agreement is in your best interest, the
          agreement will be approved and will become effective. However, if your Reaffirmation Agreement is for a
          consumer debt secured by a mortgage, deed of trust, security deed, or other lien on your real property, like your
          home, you do not need to file a motion or get court approval of your Reaffirmation Agreement.
     7.   What if you have questions about what a creditor can do? If you have questions about reaffirming a debt or
          what the law requires, consult with the attorney who helped you negotiate this agreement. If you do not have an
          attorney helping you, you may ask the judge to explain the effect of this agreement to you at the hearing to approve
          the Reaffirmation Agreement. When this disclosure refers to what a creditor "may" do, it is not giving any creditor
          permission to do anything. The word "may" is used to tell you what might occur if the law permits the creditor to
          take the action.

B.        INSTRUCTIONS

     1.   Review these Disclosures and carefully consider the decision to reaffirm. If you want to reaffirm, review and
          complete the information contained in the Reaffirmation Agreement (Part I above). If your case is a joint case,
          both spouses must sign the agreement if both are reaffirming the debt.

     2.   Complete the Debtor's Statement in Support of Reaffirmation Agreement (Part II above). Be sure that you can
          afford to make the payments that you are agreeing to make and that you have received a copy of the Disclosure
          Statement and a completed and signed Reaffirmation Agreement.

     3.   If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your attorney
          must sign and date the Certification By Debtor's Attorney section (Part IV above).

     4.   You or your creditor must file with the court the original of this Reaffirmation Documents packet and a completed
          Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

     5.   If you are not represented by an attorney, you must also complete and file with the court a separate document
          entitled "Motion for Court Approval of Reaffirmation Agreement" unless your Reaffirmation Agreement is for
          a consumer debt secured by a lien on your real property, such as your home. You can use Form 2400B to do
          this.
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C.           DEFINITIONS

     1.      "Amount Reaffirmed" means the total amount of debt that you are agreeing to pay (reaffirm) by entering into this
             agreement. The amount of debt includes any unpaid fees and costs that you are agreeing to pay that arose on or
             before the date of disclosure, which is the date specified in the Reaffirmation Agreement (Part I, Section B
             above). Your credit agreement may obligate you to pay additional amounts that arise after the date of this
             disclosure. You should consult your credit agreement to determine whether you are obligated to pay additional
             amounts that may arise after the date of this disclosure.
     2.      "Annual Percentage Rate" means the interest rate on a loan expressed under the rules required by federal law.
             The annual percentage Rate (as opposed to the "stated interest rate") tells you the full cost of your credit including
             many of the creditor's fees and charges. You will find the annual percentage rate for your original agreement on
             the disclosure statement that was given to you when the loan papers were signed or on the monthly statements sent
             to you for an open end credit account such as a credit card.
     3.      "Credit Union" means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It is owned and
             controlled by and provides financial services to its members and typically uses words like "Credit Union" or
             initials like "C.U." or "F.C.U." in its name.




* This form 2400A has been modified by Ally Bank c/o AIS Portfolio Services, LP in conformance with FED. R. BANKR. P. 4008 and
compliance with 11 U.S.C. § 524(c). This Form 2400A, as modified, is substantially similar to Official Form 2400A.
